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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


UNITED STATES OF AMERICA,                        Cause No. CR 13-030-M-DWM
                                                           CV 15-136-M-DWM
             Plaintiff/Respondent,

      vs.                                     ORDER DENYING § 2255 MOTION
                                              AND DENYING CERTIFIC~i OF
ROBERT KRISE,                                       APPEALABILITY          1-1LED
             Defendant/Movant.                                               MAY 09 2016
                                                                          Clerk, U S District Court
                                                                            District Of Montana
                                                                                  Missoula
      This case comes before the Court on Defendant/Movant Robert Krise' s

motion to vacate, set aside, or correct his sentence, pursuant to 28 U.S.C. § 2255.

Krise is a federal prisoner proceeding pro se.

      On December 30, 2015, Krise was advised that most of his allegations were

conclusory or speculative in nature. He was given some examples of what was

lacking. He was also permitted to file a supplement to his§ 2255 motion to allege

"additional facts showing why he thinks his counsel's advice was incompetent and

why he thinks he was prejudiced as a result." Order (Doc. 797) at 2.

      Krise responded by filing a supplement on February 1, 2016. Supp. (Doc.

798). The Court will review the original motion along with the supplement.




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                               I. Preliminary Review

      The motion is subject to preliminary review before the United States is

required to respond. The Court must determine whether "the motion and the files

and records of the case conclusively show that the prisoner is entitled to no relief."

28 U.S.C. § 2255(b ); see also Rule 4(b ), Rules Governing Section 2255

Proceedings for the United States District Courts.

      A petitioner "who is able to state facts showing a real possibility of

constitutional error should survive Rule 4 review." Calderon v. United States Dist.

Court, 98 F.3d 1102, 1109 (9th Cir. 1996) ("Nicolas") (Schroeder, C.J.,

concurring) (referring to Rules Governing§ 2254 Cases). But "it is the duty of the

court to screen out frivolous applications and eliminate the burden that would be

placed on the respondent by ordering an unnecessary answer." Advisory

Committee Note (1976), Rule 4, Rules Governing§ 2254 Cases, cited in Advisory

Committee Note (1976), Rule 4, Rules Governing§ 2255 Proceedings.

                                  II. Background

      On December 19, 2013, a grand jury indicted Krise, along with 13 co-

defendants, on one count of engaging in a child exploitation enterprise, a violation

of 18 U.S.C. § 2252A(g) and 2252(a)(2) and (a)(4)(B) ("Count 1"), and one count

of conspiring to advertise child pornography, a violation of 18 U.S.C. § 225 l(d)

and (e) ("Count 2"). Second Superseding Indictment (Doc. 169) at 2-3. Count 1

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carried a 20-year mandatory minimum prison sentence upon conviction. Count 2

carried a 15-year mandatory minimum.

      On March 31, 2014, Krise and the United States filed a fully executed plea

agreement. Krise agreed to plead guilty to Count 2 of the indictment, to provide

information and/or testify against his co-defendants, and to waive his right to

appeal. The United States agreed to dismiss Count 1, to forego charging Krise in a

second bulletin board case, and to recommend Krise receive a three-point

reduction in his advisory sentencing guideline calculation for acceptance of

responsibility. Plea Agreement (Doc. 310) at 3 ,-r 3, 6 ,-r 6.

      A presentence report was prepared. Krise' s advisory guideline range was

188-235 months. The statutory mandatory minimum sentence was 15 years, or 180

months. Krise was sentenced to serve the minimum sentence, 180 months, to be

followed by a life term of supervised release. He shares joint and several liability

with the other defendants for $29,859.00 in restitution, now paid. Minutes (Doc.

671); Judgment (Doc. 678) at 2-3, 5; Order (Doc. 694); Satisfaction of Judgment

(Doc. 794).

      Krise did not appeal. His conviction became final on November 6, 2014.

Gonzalez v. Thaler,_ U.S._, 132 S. Ct. 641, 653-54 (2013). He timely filed his

§ 2255 motion on October 19, 2015. 28 U.S.C. § 2255(±)(1).




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                              III. Claims and Analysis

      Krise claims that counsel was ineffective in various respects. These claims

are governed by Strickland v. Washington, 466 U.S. 668 (1984). At this stage of

the proceedings, Krise must allege facts sufficient to support an inference (1) that

counsel's performance fell outside the wide range of reasonable professional

assistance, id. at 687-88, and (2) that there is a reasonable probability that, but for

counsel's unprofessional performance, the result of the proceeding would have

been different, id. at 694.

      A. Jurisdiction and Venue

      First, Krise claims counsel should have challenged the Court's jurisdiction

on the grounds that Krise had "never lived anywhere near Montana during my

entire life." Mot. § 2255 (Doc. 789) at 18.

      The Court had jurisdiction. "The district courts of the United States ... have

original jurisdiction ... of all offenses against the laws of the United States." 18

U.S.C. § 3231. Krise was accused of violating specific provisions of 18 U.S.C. §§

2251, 2252, and 2252A. Congress had the power to criminalize the conduct

described in the statutes because child pornography substantially affects interstate

commerce and its advertisement and distribution uses the instrumentalities of

interstate commerce. Far lesser levels of involvement with interstate commerce

have been held sufficient to support federal criminal prosecution. See, e.g., United


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States v. McCalla, 545 F.3d 750, 753-56 (9th Cir. 2008) (intrastate activity);

United States v. Adams, 343 F.3d 1024, 1030-34 (9th Cir. 2003) (possession).

There is no support for a jurisdictional challenge.

      With liberal construction, Krise might be understood to challenge venue.

"[A]ny offense against the United States begun in one district and completed in

another, or committed in more than one district, may be inquired of and prosecuted

in any district in which such offense was begun, continued, or completed." 18

U.S.C. § 3237(a). For Count 2 of the second superseding indictment, which alleged

a conspiracy, venue was proper "in any district where any overt act committed in

the course of the conspiracy occurred." United States v. Meyers, 847 F.2d 1408,

1411 (9th Cir. 1988). Venue in this case was predicated on co-defendant and co-

conspirator Paul W encewicz' s participation. W encewicz was the chief

administrator of the bulletin board. From his home in Polson, Montana, he

uploaded child pornography to the bulletin board for other members' and viewers'

use. Venue for co-conspirators was proper in Montana. For these reasons, when, in

another case, similarly situated defendants challenged venue, they were

unsuccessful. See Order (Doc. 178) at 2-5, United States v. Merchberger, No. CR

14-27-M-DLC (D. Mont. Jan. 8, 2015).

      Counsel cannot be ineffective for failing to object to jurisdiction or venue,

because an objection would not have succeeded. Juan H v. Allen, 408 F.3d 1262,


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1273 (9th Cir. 2005). Neither prong of the Strickland test is met. This claim is

denied.

      B. Matters Waived by Guilty Plea

      "When a criminal defendant has solemnly admitted in open court that he is

in fact guilty of the offense with which he is charged, he may not thereafter raise

independent claims relating to the deprivation of constitutional rights that occurred

prior to the entry of the guilty plea." Tollett v. Henderson, 411 U.S. 258, 267

(1973). A guilty plea does not waive the defendant's opportunity to "attack the

voluntary and intelligent character of the guilty plea by showing that the advice he

received from counsel was not within the standards" defining the "wide range of

reasonable professional assistance." Id. at 267. But the guilty plea means Krise

must show not only that the claims he abandoned by pleading guilty had merit but

also that his attorney's advice to plead guilty without litigating those claims

"rendered that advice outside the range of competence demanded of attorneys in

criminal cases." Id. at 268 (internal quotation marks omitted).

             1. Bill of Particulars

      Krise contends, first, that because counsel did not move for a bill of

particulars it was not possible to know exactly what conduct was charged. Mot. §

2255 at 4 ~A.

      Krise does not identify anything he did not understand about the charges


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against him. At his change of plea hearing, Krise said, "I do know what actually

happened. I know what my role is in this case, and I know what the alternatives

are. So I am entering this plea of my free will." Change of Plea Tr. (Doc. 421) at

22:20-23. He accurately stated facts that made him guilty of the charge. See id. at

49: 14-50: 14, 51 :3-17, 54: 14-55 :21 (establishing that bulletin board featured

"images that displayed the lascivious exhibition of the children's genitals and

pubic area" and that Krise himself "uploaded, downloaded, and viewed images of

child pornography," "was involved in numerous posts," and "also provided input to

the board administrators and staff on how to best operate the board and on

admitting new members.").

      Krise' s present allegations do nothing to undermine the plain showing on the

record that he voluntarily, knowingly, and intelligently pied guilty. He offers no

basis to believe it was unreasonable for counsel to fail to seek a bill of particulars

before advising a guilty plea. Nor is there any reason to think Krise might have

gone to trial rather than pleading guilty or might have received a more favorable

plea bargain if counsel had sought and obtained a bill of particulars. Neither prong

of the Strickland test is met. This claim is denied.

             2. Electronic Evidence

      Krise contends there was "reasonable doubt with respect to data integrity,

chain of custody, sources and origins" and "possible manipulation of evidence."


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Mot.§ 2255 at 4 ~ B, 9, 11-12. In his supplement, Krise emphasizes that some

evidence was obtained from a foreign country and that documents can be

fabricated. At best, he opines that something might have gone awry somewhere.

This opinion meets neither prong of the Strickland test.

      To the extent Krise means counsel should have filed a motion to suppress,

he points to no fact supporting an inference that the merit of these allegations

would have been so clear to any competent counsel that only a lawyer performing

unreasonably could have failed to file a motion to suppress. Moreover, similarly

situated defendants filed motions to suppress, and they were denied. See Order

(Doc. 451); see also Order (Doc. 178) at 5-23, Merchberger, No. CR 14-27-M-

DLC (D. Mont. Jan. 8, 2015). Neither prong of the Strickland test is met.

      This claim is denied.

             3. Electronic "Eavesdropping"

      Krise contends the FBI obtained some evidence by "electronic

eavesdropping." Mot. § 2255 at 4 ~ B, 8. He fails to specify what evidence was

unlawfully obtained. The bulletin board activity was captured when the FBI

obtained Wencewicz's permission to impersonate him. That is likely not what

Krise means by "electronic eavesdropping." At any rate, impersonation did not

require a warrant. "[P]ersons have no expectation of privacy or confidentiality in

their conversations and relations with other persons, no matter how secretive the

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setting. The Court has recognized that legitimate law enforcement interests require

persons to take the risk that those with whom they associate may be government

agents." United States v. Aguilar, 883 F.2d 662, 703 (9th Cir. 1989). 1 This claim is

denied.

              4. Access to Computer

       Krise claims he had no access to a computer outside his standard office

hours between the end of the June 2011 and January 2012. Mot.§ 2255 at 12. But

his involvement in the bulletin board predated that time. See, e.g., U.S. Sentencing

Mem. (Doc. 625) at 6-8 .,-r.,-r i-vi. This claim is denied.

              5. Fifth Amendment

       Krise claims passwords to his external storage devices were obtained in

violation of his Fifth Amendment privilege and/or Miranda rights. Mot. § 2255 at

12-13. But his conviction depended on the bulletin board, not external storage

devices. Since Krise received a statutory mandatory minimum sentence, his

external storage devices did not affect the sentence ultimately imposed. And, at

any rate, the base offense level and all the adjustments in the guideline calculation,

see Presentence Report .,-r.,-r 111-122, were also based solely on the bulletin board,

not external storage devices. This claim is denied.

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          This decision was superseded by statute on a point of immigration law, see United
States v. Gonzalez-Torres, 309 F.3d 594 (9th Cir. 2002), and by case law concerning the standard
of review applied to denial of discovery relating to selective prosecution, see United States v.
Bourgeois, 964 F.2d 935, 937 (9th Cir. 1992). On the point cited here, it is the law.
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        C. Sentencing Issues

              1. Mitigating Circumstances

        Krise contends the United States and the presentence report presented a

"distorted perspective of my character." Mot. § 2255 at 5 ~ C. Most ofKrise's

allegations focus on this issue. See id. at 10-11, 14-18, 19; Supp. (Doc. 800) at 1-4,

4-6.

        As Krise understood at the time he pied guilty, Change of Plea Tr. at 15 :22-

24, 19:2-25, 38:16-24, a 15-year mandatory minimum sentence means a 15-year

sentence is mandatory and is the minimum sentence. Krise' s arguments about his

military service, health, and good character apart from his conviction were indeed

emphasized by his attorney. See Sentencing Mem. (Doc. 628) at 4-11, 16-18.

Counsel introduced into the record his psychological and psychosexual evaluation,

military records, and medical records. See Sentencing Exhibits (Docs. 629, 630-1,

630-2). Counsel forestalled a sentence between 188 and 235 months, which was

the United States' request. But the factors Krise adduces cannot, by law, support a

sentence less than the one Krise received.

        Neither prong of the Strickland test is met. This claim is denied.

              2. Registration Requirement

        Krise objects to the requirement that he register as a sex offender. Mot. §

2255 at 18; Supp. at 5. The requirement is imposed by federal law. Krise knew that


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when he pied guilty. Plea Agreement at 11-12 ~ 14; Change of Plea Tr. at 16:25-

18: 17, 30: 17-31 : 1. This claim is denied.

               3. Substantial Assistance

         Krise claims he cooperated with investigators (he testified at a co-

defendant' s trial) and should have received some credit for doing so. Mot. § 2255

at 7-8. He did receive a benefit in exchange. The United States did not prosecute

him in the second child pornography bulletin board case, Merchberger, No. CR 14-

27-M-DLC (D. Mont. filed Apr. 8, 2014), even though there was evidence showing

Krise participated in that bulletin board as well. See Plea Agreement (Doc. 310) at

3 ~ 3, 7-9 ~ 7, Change of Plea Tr. at 3:23-4:3, 5:1-14. This claim is denied.

               4. Credit for Time Served

         Krise points to "Exhibit 7" to allege he was not given credit for time served.

Exhibit 7 (Doc. 789-1 at 13, 41, 69, 97) has nothing to do with credit for time

served. Exhibit 6 (Doc. 789-1 at 12, 40, 68, 96) is labeled "record of time served,"

but it is a record from Krise's time in the military. It has nothing to do with this

case.

         If Krise believes his sentence is not being properly executed, he must take

up that issue with the Bureau of Prisons, not the sentencing court. See, e.g., United

States v. Wilson, 503 U.S. 329, 333 (1992); Schleining v. Thomas, 642 F.3d 1242,

1247 (9th Cir. 2011); Taylor v. Reno, 164 F.3d 440, 445-47 (9th Cir. 1998); 18

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U.S.C. § 3585(a), (b). This claim is denied.

                          IV. Certificate of Appealability

      "The district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant." Rule l l(a), Rules Governing§ 2255

Proceedings. A COA should issue as to those claims on which the petitioner makes

"a substantial showing of the denial of a constitutional right." 28 U.S.C. §

2253(c)(2). The standard is satisfied if "jurists of reason could disagree with the

district court's resolution of [the] constitutional claims" or "conclude the issues

presented are adequate to deserve encouragement to proceed further." Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003) (citing Slack v. McDaniel, 529 U.S. 473, 484

(2000)).

      None of Krise's claims meets even the relatively low threshold required for

a COA. Krise does not identify any respect in which counsel's performance was

unreasonable. Nor does he identify any reasonable probability of a different

outcome if counsel had done anything differently. Although he clearly knew of the

15-year mandatory minimum sentence when he pied guilty, Krise unaccountably

claims he should have received a lesser sentence. He also entirely overlooks the

fact that his guilty plea avoided imposition of a 20-year sentence that would have

been equally mandatory had counsel not obtained dismissal of Count 1. There is no

reason to encourage further proceedings. Krise knew what he was doing when he

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pied guilty, and there is no prospect of a different sentence. A COA is not

warranted.


      Accordingly, IT IS HEREBY ORDERED as follows:

      1. Krise' s motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (Docs. 789, 800) is DENIED;

      2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Krise files a Notice of Appeal;

      3. The Clerk of Court shall ensure that all pending motions in this case and

in CV 15-136-M-DWM are terminated and shall close the civil file by entering

judgment in favor of the United States and against Krise.

      DATED this   _j!day of May, 2016.

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                                       United    ates Distric Court




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